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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 JESSICA LOPEZ,                                             CIVIL ACTION

        Plaintiff,
                                                            NO. 19-5104-KSM
        v.

 CITY OF LANCASTER, et al.,

        Defendants.




                                            ORDER

       AND NOW, this 12th day of November, 2021, upon consideration of Plaintiff’s Motion

in Limine (Doc. No. 56), Defendant’s response (Doc. No. 57), Defendant’s Motion in Limine

(Doc. No. 55), and Plaintiff’s response (Doc. No. 58), it is hereby ORDERED as follows:

       1.       Plaintiff’s Motion in Limine is GRANTED with respect to evidence of Lopez’s

2011 conviction for aggravated assault and aggravated harassment by a prisoner; 2014

conviction for simple assault; 2016 conviction for harassment and disorderly conduct; and 2018

conviction for possession of a controlled substance, possession of marijuana, tampering with

evidence, and disorderly conduct;

       2.       Plaintiff’s Motion in Limine is DENIED with respect to evidence of Lopez’s

2016 convictions for drug offenses and retail theft and with respect to evidence of the “second

incident,” though such evidence is subject to the limitations discussed in the accompanying

memorandum; and
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     3.       Defendant’s Motion in Limine is GRANTED.

IT IS SO ORDERED.



                                              /s/Karen Spencer Marston
                                              ______________________________
                                              KAREN SPENCER MARSTON, J.




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